Case 2:17-cv-11530-DPH-APP ECF No. 22 filed 07/11/18      PageID.103   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

KYISHA JONES,

                   Plaintiff,                 Case No. 2:17cv11530
                                              Hon. Denise Page Hood
v


UNITED STATES DEPARTMENT
OF AGRICULTURE, et al.,

                   Defendant
                                     /

                ORDER OF DISMISSAL, WITH PREJUDICE

      The parties having met and discussed this matter and having into an

agreement to resolve their differences,

      IT IS ORDERED that this case is dismissed, with prejudice, each party to

bear their own costs.

Dated: July 11, 2018                      s/Denise P. Hood
                                          HON. DENISE PAGE HOOD
                                          UNITED STATES DISTRICT COURT




 
Case 2:17-cv-11530-DPH-APP ECF No. 22 filed 07/11/18         PageID.104       Page 2 of 2




                                  STIPULATION

      The parties, through their undersigned counsel, hereby consent to the

dismissal of this case, with prejudice, each party to bear their own costs.



MATTHEW SCHNEIDER                             ADAM G. TAUB & ASSOCIATES
United States Attorney                        CONSUMER LAW GROUP, PLC


By: s/Jacqueline M. Hotz     By: s/Adam G. Taub (w/consent jmh 7/10/18)
JACQUELINE M. HOTZ (P35219)         ADAM G. TAUB (P48703)
Assistant US Attorney               Counsel for Defendants
211 W. Fort, Ste 2001               17200 West 10 Mile Rd, Suite 200
Detroit MI 48226                    Southfield, MI 48075
Phone: (313)26-9108                 Phone: (248)746-3790
Email: jackie.hotz@usdoj.gov        Email: adamgtaub@clgplc.net
 

                                                                




 
